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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF MASSACHUSETTS


JOSEPH SCLAFANI, MICHAEL FEINSTEIN,
and BRET CAPPOLA,

                    Plaintiffs,

CAROL A. MICI, in her official capacity as
Commissioner of the Massachusetts Department     C.A. No.
of Corrections,
DOUGLAS DEMOURA, in his official capacity
as Superintendent of MCI-Cedar Junction, and
STEVE SILVA, in his official capacity as
Superintendent of MCI-Norfolk,

                   Defendants.
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                           DECLARATION OF PETER WALLACE

Pursuant to 28 U.S.C. § 1746, Peter Wallace, declare as follows:

1. I am 46 years old. I was released from incarceration at MCI-Cedar Junction on December 10,

    2019. I now live in Quincy, Massachusetts.

2. I have been diagnosed with opioid use disorder. Before I was incarcerated, my doctor in

    Quincy prescribed me 12 mg of Suboxone per day to treat my opioid use disorder. I was on

    my medically prescribed Suboxone for two and a half years.

3. Thanks to Suboxone, I entered into active recovery. The Suboxone kept the symptoms of

    opioid use disorder, like cravings, at bay. I did not use any illicit substances while I was on

    my prescribed Suboxone. I was proud of those two and a half years in active recovery. It was

   one of the best times ofmy entire life. I learned so much about what actual life was during

   that period of recovery.

4. I was incarcerated at the end of the summer of2018 for missing probation appointments and

   failing to pay probation fees. During the start ofmy incarceration, there was no access to

   prescribed Suboxone and I was forced to detox. The withdrawal from my medically

   prescribed Suboxone was terrible and lasted about 30 days.

5. At the beginning of 2019, I heard that the Department of Correction might be starting a

   Suboxone program. At the time, I was at MCI-Shirley, and I started asking medical staffifI

   could get back on my prescribed Suboxone treatment. I put in many sick slips explaining that

   I had been prescribed Suboxone in the community and asking to be given access to the

   medication. But they would not do so.

6. I was transferred to MCI-Cedar Junction on July 26, 2019. Once again, I started asking

   whether I could get back on my prescribed Suboxone treatment. Both my mental health


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    provider and Dr. Hameed told me that Suboxone is only available at MCI-Cedar Junction for

    the first 90 days ofincarceration and the last 90 days before release.

7. My release date was December 10, 2019. Since I was not yet 90 days from release when I

    started asking for treatment, the providers at MCI-Cedar Junction did not allow me to restart

    my Suboxone treatment. Dr. Hameed said I couldn't be put on the buprenorphine because I

    had more than 90 days left and therefore was not yet eligible for a buprenorphine

    prescription.

8. During my time at MCI-Cedar Junction, I also heard several nurses say that the

    buprenorphine program was only for 90 days.

9. Finally, around September 16, Dr. Hameed prescribed me 2 mg per day ofbuprenorphine.

    She said I was at my 90-day mark, so she would now prescribe my medication. She bumped

    me up to 4 mg per day ofbuprenorphine around October 16, and 8 mg per day of

    buprenorphine around November 12.

10. Even though I am now back out in the community, I don't want anyone to have to go through

    withdrawal from their prescribed buprenorphine treatment while they are at MCI-Cedar

    Junction. I know how awful withdrawal is, and I believe people shouldn't be denied access to

    their medicine.

   I declare under penalty ofperjury under the laws ofthe United States ofAmerica that the




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foregoing is true and correct.

                                                             Executed on December_, 2019




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